                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 1 of 22 Page ID #:813



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                                7
                                                             UNITED STATES DISTRICT COURT
                                8
                                                           CENTRAL DISTRICT OF CALIFORNIA
                                9
                                                            SOUTHERN DIVISION – SANTA ANA
                               10
                               11                                      )           Case No. 8:20-cv-00368-JLS-JDE
                                     CITY OF COSTA MESA, and KATRINA )
                               12    FOLEY,                            )
                                                                       )           COUNTY OF ORANGE’S AMICUS
OFFICE OF THE COUNTY COUNSEL




                               13             Plaintiff,               )           CURIAE BRIEF IN SUPPORT OF CITY
      COUNTY OF ORANGE




                                                                       )           OF COSTA MESA’S REQUEST FOR A
                               14         vs.                          )           CONTINUED TEMPORARY
                                                                       )           RESTRAINING ORDER
                               15                                      )
                                     UNITED STATES OF AMERICA, THE     )           Judge: The Honorable Josephine L.
                               16    DEPARTMENT OF HEALTH AND          )           Staton
                                     HUMAN SERVICES, THE UNITED        )
                               17    STATES DEPARTMENT OF DEFENSE, )
                                     THE UNITED STATES AIR FORCE, THE ))           DATE: MARCH 2, 2020
                               18    CENTERS FOR DISEASE CONTROL                   TIME: 2:00 P.M.
                                                                       )           COURTROOM: 10A
                               19    AND PREVENTION, THE STATE OF      )
                                     CALIFORNIA, FAIRVIEW              )
                               20    DEVELOPMENTAL CENTER              )
                                     (FAIRVIEW), THE CALIFORNIA        )
                               21    GOVERNOR’S OFFICE OF              )
                                                                       )
                                     EMERGENCY SERVICES, and THE       )
                               22    CALIFORNIA DEPARTMENT OF          )
                               23    GENERAL SERVICES,                 )
                                                                       )
                               24             Defendants.              )
                                                                       )
                               25                                      )
                               26          TO THE HONORABLE JOSEPHINE L. STATON, ALL PARTIES HEREIN

                               27    AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

                               28          The County of Orange respectfully submits the following amicus curiae brief in

                                                                                -1-
                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 2 of 22 Page ID #:814



                                1    support of the City of Costa Mesa’s Motion for a Temporary Restraining Order (“TRO”).
                                2    1.     INTRODUCTION
                                3           The Board of Supervisors of the County of Orange (“County”) takes the health and
                                4    safety of its citizens very seriously. The Board takes great care in appointing a Public
                                5    Health Officer and trusts that she and other Health Care Agency (“HCA”) personnel will be
                                6    adequately prepared to address infectious disease outbreaks threatening County residents.
                                7    After all, in a public health care crisis, the County’s public health personnel are the first
                                8    responders and first line of defense. However, with the limited information coming from
                                9    the State and Federal government, the efforts of the County Public Health officials to
                               10    protect the health and safety of County residents have been materially impaired.
                               11           Only through an exchange of information can County health officials adequately
                               12    prepare for the coronavirus (“COVID-19”) pandemic that is now threatening our nation and
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                               13    the residents of Orange County. The County appreciates the District Court’s thoughtful
      COUNTY OF ORANGE




                               14    order requiring the parties meet and confer over the proposed utilization of the Fairview
                               15    Developmental Center (“FDC”). However, during the meet and confer process,
                               16    representatives of the involved Federal agencies revealed that they currently have no
                               17    Operational Plan or Security Plan for the FDC—and that there would be no sharing of any
                               18    such plans unless and until this litigation ends. An Operational Plan is what would
                               19    normally be provided by the Federal government and would be the roadmap that provides
                               20    the detailed information, including procedures and protocols, and the assignment of
                               21    respective roles and responsibilities, that the County’s health care officials, as well as local
                               22    law enforcement, fire departments, and hospitals would need in order to properly manage
                               23    this public health crisis.1
                               24           As stated in the previously filed declaration of HCA’s Director, Richard Sanchez,
                               25    “[i]n past public health situations, the California Department of Public Health has been
                               26
                                            1
                               27            Federal government officials also admit that they have not yet made contact with
                                     any local Orange County hospitals, even though such facilities would be utilized if COVID-
                               28    19 patients transferred to the FDC subsequently become symptomatic and require
                                     hospitalization.
                                                                                    -2-
                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 3 of 22 Page ID #:815



                                1    much more communicative, collaborative, and timely in providing guidance and
                                2    information to the Orange County Health Care Agency.” Doc 24, Sanchez Decl., ¶11. The
                                3    State and Federal government’s seemingly abrupt decision to move COVID-19 positive
                                4    patients to the FDC was thrust upon County public health officials with very little advance
                                5    notice, guidance or information to ensure the safety of the residents of the County. The
                                6    magnitude of this public health risk cannot be understated, particularly when the COVID-19
                                7    virus is known to be highly contagious and the FDC, which is in the middle of a densely-
                                8    populated, urban County, was never intended to house infected persons. Moreover, the
                                9    utilization of the FDC to house asymptomatic COVID-19 patients would appear to be
                               10    inconsistent with the Center of Disease Control’s (“CDC”) own guidance calling for home
                               11    isolation.
                               12          Hence, the County encourages the Court to keep the existing Temporary
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                               13    Restraining Order in place until (1) Operational and Security Plans are provided and all
      COUNTY OF ORANGE




                               14    impacted stakeholders, including local public health officials, have the opportunity to
                               15    review, provide vital input and prepare for the demands which will be placed upon the
                               16    County’s health care system and public health professionals; and, (2) that all parties agree to
                               17    adhere to clearly-defined CDC protocols.
                               18    2.    THE COUNTY’S VITAL INTEREST IN PROTECTING ITS HEALTH AND
                               19          WELL-BEING OF ITS CITIZENS AND ECONOMY
                               20          Orange County has a population of 3.2 million, making it the third most populous
                               21    county in California, and the sixth most populous in the United States. In fact, Orange
                               22    County has more residents than 21 States.2 It is the second most densely populated county
                               23    in California, behind San Francisco County. Orange County consists of 8% of the total of
                               24    the California population but possesses only 0.5% of its land area. Orange County
                               25    possesses more density in population than Los Angeles County by almost double (4,033 vs.
                               26    2,527 persons per square mile).
                               27
                                           2
                               28             With a population of 3.2 million, Orange County has almost as many residents as
                                     the entire state of Utah (3.205 million).
                                                                                   -3-
                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 4 of 22 Page ID #:816



                                1          Orange County is a premiere tourist destination, with attractions like Disneyland,
                                2    Knott's Berry Farm, and several popular beaches given it possesses more than 40 miles (64
                                3    km) of coastline. Orange County is not only populated by its residents but also its
                                4    workforce and tourist visitors. The plan to use FDC to house COVID-19 positive patients
                                5    in a highly densely populated County with a vibrant tourist industry would be devastating.
                                6    It could severely damage the County’s tourism industry and local economy, and most
                                7    importantly local health and welfare.
                                8          Governed by its Board of Supervisors, the County government is responsible for
                                9    ensuring that County residents are safe and protected from infectious disease in the
                               10    community. The County also has an interest in protecting and promoting its vibrant and
                               11    flourishing tourism industry. To that end, on Wednesday, February 26, 2020, the County
                               12    declared both a local emergency and a local health emergency to prepare for COVID-19.
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                               13    (Copies of the Proclamation of a Local Emergency and the Declaration of Local Health
      COUNTY OF ORANGE




                               14    Emergency are attached hereto as Exhibits A and B, respectively). The declaration of both
                               15    a local emergency and local health emergency assists the County of Orange to better
                               16    leverage resources in order to prepare to for staffing needs and greater agency coordination
                               17    all while allowing for future reimbursement for County activities by state and federal
                               18    governments for COVID-19 related County expenses.
                               19          Orange County Ordinance Sec. 3-1-6(b) provides that, in the event of a proclamation
                               20    of local emergency, the Director of Emergency Services empowered to, inter alia: (1) make
                               21    and issue rules and regulations on matters reasonably related to the protection of life and
                               22    property; (2) obtain vital supplies and equipment found lacking and needed for the
                               23    protection of life and property; (3) require emergency services of any County officer or
                               24    employee.
                               25          A County Health Officer has great duties and responsibilities in the event of an
                               26    infectious disease threat or outbreak. California Health and Safety Code section 101040
                               27    provides that the local County Health Officer may take any preventive measure necessary to
                               28    protect and preserve the public health from any public health hazard during any state or

                                                                                   -4-
                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 5 of 22 Page ID #:817



                                1    local emergency. In addition, California Health and Safety Code section 120175 provides
                                2    that the local Health Officer knowing or having reason to believe that any infectious disease
                                3    exists within the territory under his or her jurisdiction, “shall take measures as may be
                                4    necessary to prevent the spread of the disease or occurrence of additional cases.”
                                5          Health and Safety Code Section 120175.5 provides that during an outbreak or threat
                                6    of outbreak that threatens the public’s health, a local health officer shall, inter alia: (1)
                                7    Promptly notify and update governmental entities within the local health officer’s
                                8    jurisdiction about communicable diseases; (2) Make any relevant information available to
                                9    governmental entities, including, but not limited to, the locations of concentrations of cases,
                               10    the number of residents affected, and the measures that the governmental entities should
                               11    take to assist with outbreak response efforts. In addition, the local health officer may issue
                               12    orders to other governmental entities within the local health officer’s jurisdiction to take any
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                               13    action the local health officer deems necessary to control the spread of the communicable
      COUNTY OF ORANGE




                               14    disease. Finally, Health and Safety Code section 120200 provides that “Each health officer,
                               15    whenever required by the department, shall establish and maintain places of quarantine or
                               16    isolation.”
                               17    3.    THE TRO SHOULD REMAIN IN EFFECT
                               18          a.      Both the County and the City of Costa Mesa Still Lack Crucial
                               19                  Information Necessary to Adequately Protect the Public, Including an
                               20                  Operational and Security Plan for the FDC
                               21          As indicated in the previously filed declaration of Richard Sanchez, Orange County
                               22    HCA staff were requested by California Department of Public Health staff to assess
                               23    infection control risk at FDC. Doc. 24, Sanchez Decl., ¶ 6. This raises serious questions as
                               24    to the veracity of the state and federal assessment of the suitability of FDC for housing
                               25    COVID-19 positive patients, and in turn, the safety of the County’s residents. Information
                               26    flow from the California Department of Public Health to the Orange County Health Care
                               27    Agency has been consistently poor to the point that relevant information regarding COVID-
                               28    19 has been willfully withheld and only discovered through media stories or direct calls

                                                                                     -5-
                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 6 of 22 Page ID #:818



                                1    from members of the media. Id. at ¶ 9. The meet and confer process ordered by this Court
                                2    did not adequately address or alleviate the County’s serious concerns. The County is still in
                                3    need for much improved communication.
                                4          This is highlighted by the fact, during the Court ordered meet and confer meeting that
                                5    took place on the afternoon of February 27, 2020, with officials and attorneys from the
                                6    County, the City of Costa Mesa, the State and Federal government, the Federal government
                                7    admitted it had no Operational Plan or Security Plan for housing COVID-19 positive
                                8    persons at FDC. When Vice Chair of the County’s Board of Supervisors, Andrew Do,
                                9    specifically asked when the Operational Plan could be expected, a representative from the
                               10    Federal government replied that an Operational Plan would be provided after the conclusion
                               11    of this litigation, if the Federal government ultimately decides to move forward with the
                               12    FDC housing of COVID-19 positive persons.3 The U.S. Attorney representative stated that
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                               13    when the TRO was filed, the litigation created obstacles as information is allegedly
      COUNTY OF ORANGE




                               14    “weaponized.” This recalcitrance is directly contrary to the intent of this Court’s Order for
                               15    information exchange. In addition, during the meet and confer process, Federal government
                               16    representatives repeatedly referred to “applicable standards” without ever citing any source
                               17    in response to crucial questions about courses of treatment, illustrating their disregard for
                               18    both the local public health interest and the Court’s demand for more information.
                               19          Prior to and during the meet and confer meeting, the County’s Health Officer, Dr.
                               20    Nichole Quick, presented a number of questions in her previously-filed declaration, the
                               21    answers to which she deemed important in order to adequately prepare for COVID-19 in the
                               22    County and for the health and safety of Orange County residents. During the meet and
                               23    confer, Dr. Quick specifically noted that most of her questions would normally be
                               24    encompassed in an Operational Plan. Such a plan provides details so the County, as a local
                               25    jurisdiction, can be prepared for what will be required of them.
                               26          In addition, there is a necessity to follow previously established communications flow
                               27
                                           3
                               28           When asked what additional approvals were required before moving forward with
                                     FDC, the U.S. Attorney represented that a written response would be provided.
                                                                                   -6-
                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 7 of 22 Page ID #:819



                                1    protocols such as the activation of a “Joint Information System” to ensure impacted
                                2    jurisdictions are a part of any operational planning and information dissemination. HCA
                                3    has been receiving multiple calls each day from local health care facilities regarding
                                4    possible suspect cases of COVID-19. Timely COVID-19 guidance from the State and/or
                                5    Federal government is required so that accurate information can be relayed to schools,
                                6    colleges, and universities, and workplaces. Id. at ¶ 4. This has not been occurring.
                                7          b.     CDC Protocols Must Be Clearly Defined and Followed by All Local, State
                                8                 and Federal Health Officials
                                9          The published CDC Guidelines directly conflict with the proposed plan to isolate and
                               10    concentrate COVID-19 infected persons at the FDC. The CDC guidelines provide for home
                               11    isolation for persons testing positive for COVID-19 patients, but who do not require
                               12    hospitalization. In fact, the guidelines expressly provide that if someone is positive for
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                               13    COVID-19, but does not require hospitalization, home isolation is recommended. The
      COUNTY OF ORANGE




                               14    suitability assessment for residential placement requires there to be a separate bedroom,
                               15    bathroom, caregivers, access to food and other necessities. The County believes that this is
                               16    the protocol being used throughout the nation—for many COVID-19 positive patients who
                               17    do not require hospitalization. These guidelines, are collectively attached as Exhibit C and
                               18    can be found at:
                               19                 (1)   https://www.cdc.gov/coronavirus/2019-ncov/hcp/guidance-home-
                               20                       care.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoron
                               21                       avirus%2F2019-ncov%2Fguidance-home-care.html ; and
                               22                 (2)   https://www.cdc.gov/coronavirus/2019-ncov/hcp/guidance-prevent-
                               23                       spread.html
                               24          However, during the meet and confer, the CDC guidance regarding home isolation
                               25    was mentioned and the question was asked by Dr. Quick, the County’s Health Officer, as to
                               26    why the California COVID-19 positive persons are being treated differently (meaning, not
                               27    being placed in home isolation) than other COVID-19 positive persons elsewhere in the
                               28    country. There was no answer given. It was also pointed out that the COVID-19 persons

                                                                                   -7-
                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 8 of 22 Page ID #:820



                                1    to be placed at FDC would not be isolated from each other. This is particularly alarming
                                2    since the congregate isolation situation did not fare well for the crew on the Diamond
                                3    Princess cruise ship and clustering asymptomatic COVID-19 patients together raises the
                                4    specter of repeated re-infections of patients no longer testing positive.
                                5          c.     According to the Federal Government, the FDC Is Currently the Only
                                6                 Non-Military/Non-Hospital Location Designated in the Entire Country to
                                7                 Potentially House COVID-19 Positive Patients
                                8          As we learned during the meet and confer process, there is only one non-military
                                9    location in the entire country which is being utilized for congregate isolation of COVID-19
                               10    positive persons not requiring hospitalization. That location is at Texas Center for
                               11    Infectious Disease in San Antonio, Texas. Therefore, if FDC is designated as planned, it
                               12    will be the only non-medical/non-military facility in the entire country to house COVID-19
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                               13    positive patients.
      COUNTY OF ORANGE




                               14          Federal officials also confirmed that presently there are five military bases being used
                               15    to quarantine COVID-19 patients. They repeatedly indicated that these five sites were
                               16    erected within days. This shows the Federal government’s cavalier attitude and lack of
                               17    appreciation for the significant difference between quarantining people in isolated locations
                               18    using government personnel and placing quarantined patients in the middle of one of the
                               19    most-densely populated locations in the country while using civilian personnel.
                               20          During the meet and confer process, local officials were also informed that the State
                               21    of California has thousands of properties in its inventory. And if the federal government
                               22    truly plans on only ever sending “8 or 9” asymptomatic COVID-19 patients to the FDC, the
                               23    balance of equities strongly favors following CDC protocols and allowing these persons to
                               24    instead isolate at home.
                               25          d.     The Fact That the Federal Officials Left Wide Open the Possibility FDC
                               26                 May Be Used To House COVID-19 Patients From Other States Should
                               27                 Weigh Heavily In This Court’s Decision.
                               28          During the meet and confer, the Federal representatives indicated that currently there

                                                                                   -8-
                                    Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 9 of 22 Page ID #:821



                                1    are 8 or 9 persons from the Diamond Princess cruise ship that they are contemplating
                                2    moving to the FDC but would not commit to capping the number. This leaves open the
                                3    possibility of housing COVID-19 infected persons from other states at FDC. This
                                4    heightened use, in particular, demands a more formal and defined approach, which an
                                5    Operational Plan and Safety Plan would ensure.
                                6    4.      CONCLUSION
                                7            The District Court has recognized that local authorities do not enjoy a veto over
                                8    national health care policy. At the same time, the County of Orange should not be subjected
                                9    to Defendants’ arbitrary and capricious – and seemingly entirely irrational – selection of the
                               10    FDC, a facility that is wholly unsuited for the concentration of COVID-19 patients. Even
                               11    after hours of discussion, we simply do not understand the rationale of the State and Federal
                               12    government in selecting this facility. We believe that Defendants can do much better than
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                               13    this.
      COUNTY OF ORANGE




                               14            The lack of transparency, candor and open communication between the State and
                               15    Federal government with the County and its local counterparts is alarming in light of the
                               16    significant threat to public health and safety posed by the COVID-19 virus. Until an
                               17    Operational Plan and Security Plan for the FDC is developed, and until Defendants agree to
                               18    abide by CDC-guidance recommending home isolation of asymptomatic COVID-19
                               19    patients, the County respectfully requests that the TRO remain in place.
                               20     DATED: February 28, 2020               Respectfully submitted,
                               21                                            LEON J. PAGE, COUNTY COUNSEL
                                                                             MARIANNE VAN RIPER, SENIOR ASSISTANT
                               22                                            LAURA D. KNAPP, SUPERVISING DEPUTY
                               23
                               24                                            By:               /s/
                               25                                                  LEON J. PAGE, COUNTY COUNSEL
                               26                                            Attorneys for Amicus Curiae, COUNTY OF
                                                                             ORANGE
                               27
                               28

                                                                                    -9-
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 10 of 22 Page ID #:822




                                                      COUNTY         OF ORANGB
                                                     STATE     OF CALIFORNIA
                                      PROCLAMATION             OF A LOCAL            EMERGENCY


                  REQUEST         FOR GOVERNOR               TO DECLARE             A STATE       OF EMERGENCY



               WHEREAS,          in accordance       with Government         Code Section        8630, a local einergency              may


    be proclaimed          by the Board of Supervisors         of the County        of Orange or by an official         so


    designated      by ordinance       adopted by the Board of Supewisors;                and


               WHEREAS,          Section 3-1-6(a)       of the Codified      Ordinances        of the County      of Orange


    provides     that the Director      of Emergency        Services    shall request the Board of Supervisors               to


    proclaim      a local emergency        when the Board          of Supervisors     is in session and the Chair of the


    Emergency        Management         Council     to so proclaim     when the Board of Supervisors              is not in session;


    and


                WHEREAS,          the Board of Supeisors             is not currently     in session, and the Director            of


    Emergency        Services    has requested       that the Chair of the Emergency             Management        Council


    proclaim      a local emergency;         and


               WHEREAS,          a novel coronavirus,        COVID-19,        which     causes infectious      disease resulting


    in symptoms          of fever, coughing        and shortness     of breath with outcomes         ranging      from mild       to


    severe     illness    and in some cases death, has arisen in China                and spread to numerous         other


    countries     including     the United    States; and


               WHEREAS,          the Centers for Disease Control            and Prevention        has determined        the vinis       to


    be a very serious public           health threat, yet the method         and efficacy       of transmission     of the virus is


    not yet fully        understood    and no vaccine      currently    exists;   and


               WHEREAS,          Orange County         has a population      of over 3 million       residents,    is a major


    tourist    destination,     has a high volume        airport   within   its jurisdiction     and is a significant




                                                     Exhibit A - Page 10
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 11 of 22 Page ID #:823




   destination       for business      travel all resulting       in high volumes         of foreign     and domestic    travelers


   traveling       into and out of the County,          whicli     has the potential       to result in significant      spreading      of


   the disease; and


                 WHEREAS,        the Health     Officer      of the County      of Orange has determined              that the County


   is preparing          for an imminent     and proximate         threat to public       health    from the virus;     and


                 WHEREAS,         communities       within    the geographic          boundaries       of Orange County        have and


    will      continue    to prepare   and, as necessary,         take significant      response       actions to any developing


    contagion       and to any other risks that may arise from introduction                        and possible    spread of the


    ViI'uS;



                 WHEREAS,         the above described            events are creating       a condition     of extreme peril to the


    safety of persons and property             within     the territorial    limits    of the County       of Orange which


    conditions       are or are likely      to be beyond      tlie control    of the services, personnel,           equipment      and


    facilities     of tbe County       of Orange,    aiid require      the combined         forces of other political


    subdivisions          to combat;


                 IT IS HEREBY          PROCLAIMED             that a local emergency           exists within      the geographic        area


    of Orange County;


                  IT IS FURTHER            PROCLAIMED              AND      ORDERED         that as of tms date all County


    deparhnents           axtd agencies take those actions, measures              and steps deemed necessary to assure the


    safety and welfare          of Orange County          residents      atxd property,     including     requesting    mutual     aid to


    the extent such aid is necessary             and utilizing        EOC Cal Cards and any other available                   funding


     stream to acquire         resources     deten'nined     by the DES or an authorized                emergency      purchaser     as


     necessary to respond to tbis declared                emergency.




                                                     Exhibit A - Page 11
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 12 of 22 Page ID #:824




                                                                                          ACTING   AS
            ACCORDINGLY,      THE CHAIR OF THE BOARD OF SUPERVISORS

                                            MANAGEMENT           COUNCIL    HEREBY        REQUESTS that
   THE CHAIR OF THE EMERGENCY

                                                 make all relevant funds available to tlie County
   the Goveayor declare a State of Emergency and

                                                   and businesses, including but not limited to,
   of Oraiige and all eligible commui'iily members

                                                      Private Nonprofit     Organizations Assistance
   California Disaster Assistance Act funds and State

                                                     the President of the United States make a
   Program funds, and that the Governor request that

                                                        County of Orange and make all relevant
   Presidential Declaration of Emergency in and for the

                                                    eligible community members and businesses,
    funds available to the County of Orange and all

                                                       Small Business   Administration.
    including, but not limited to, aid provided by the




    Date:
                '-t"t -                           Signed:



                                                   Michelle   Steel,
                                                   Chairwoman of the Board of Supervisors Acting as
                                                   the Chair of the Emergency Management Council
                                                   County of Orange




                                        Exhibit A - Page 12
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 13 of 22 Page ID #:825




                DECLARATION OF A LOCAL HEALTH EMERGENCY


     WHEREAS, Health and Safety Code section 101080 authoriws a local health officer to declare a
     local health emergency in the health officcr'sjurisdic.lion~ or any part thereof, whenever the
     health officer reasonably determines that there is an imminent and proximate threat of the
     introduction of any contagious., infectious, or communicable disease, chemical agent; non-
     conununicable biologic agent, toxin, or radioactive agent;
     WHEREAS, the Centers for Disease Control and Prevcnti.on announced on February 25, 2020
     that community spread ofCOVID-19 is likely to occur in the United States;
     WHEREAS, based on the Centers for Disease Control and Prevention statements, there is an
     ongoing risk and likelihood of COVID-19 positive patients being identified in Orange County;
     WHEREAS, based on the foregoillg, there is an imminent and proximate threat of the
     introduction of COVJD-19 in the County of Orange and a threat to the public health of the
     County residents;
     THEREFORE, the County Health Officer hereby d(!Clares a health emergency.




                                                                         ~   /-;;, 1~;M:)
     Nichole Quick, MD, MPH                                                    Date
     Health Officer




                                     Exhibit B - Page 13
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 14 of 22 Page ID #:826


 r;'iTi Centers for Disease
 lliiiliil.Control and Prevention


 Coronavirus Disease 2019 (COVID-19)
               On February 11, 2020 the World Health Organization announced an official name for the disease that Is
               causing the current outbreak of coronavirus disease, COVID-19. CDC will be updating our website and other
               CDC materials to reflect the updated name.




 Interim Guidance for Implementing Home Care of
 People Not Requiring Hospitalization for 2019 Novel
 Coronavirus (2019-nCoV)
 Updated February 12, 2020
                                                                                                     Preventing 2019-nCoV
 Printer friendly version • [PDF]                                                                    from Spreading in
                                                                                                     Homes and
 This interim guidance is for staff at local and state health departments, infection
                                                                                                     Communities: Interim
                                                                                                     guidance that may help
 prevention and control professionals, and healthcare personnel who are
                                                                                                     prevent 2019-nCoV
 coordinating the home care and isolation 1 of people with confirmed or suspected
                                                                                                     from spreading among
 2019-nCoV infection, including persons under investigation (see Criteria to Guide
                                                                                                     people In homes and in
 Evaluation of Persons Under Investigation (PUI) for 2019-nCoV). This includes
                                                                                                     communities.
 patients evaluated in an outpatient setting who do not require hospitalization (i.e.,
 patients who are medically stable and can receive care at home) or patients who
 are discharged home following a hospitalization with confirmed 2019-nCoV
 infection.

 In general, people should adhere to appropriate transmission-based isolation
 precautions until the risk of secondary transmission is thought to be low. Current
 information on 2019-nCoV is limited, thus home precautions should be
 conservative based on general recommendations for other coronaviruses, like
 Middle Eastern Respiratory Syndrome (MERS), and may last up to 14 days.
 This document does not apply to patients in healthcare settings. For interim healthcare infection prevention and control
 recommendations, see Interim Infection Prevention and Control Recommendations for Patients with Known or Persons
 Under Investigation for 2019 Novel Coronavirus (2019-NCoV) in a Healthcare Setting. CDC will update this interim guidance as
 needed and as more information becomes available.



 Assess the Suitability of the Residential Setting for Home Care
 In consultation with state or local health department staff, a healthcare professional should assess whether the residential
 setting is appropriate for home care. Considerations for care at home include whether:

    • The patient is stable enough to receive care at home.
    • Appropriate caregivers are available at home.
    • There is a separate bedroom where the patient can recover without sharing Immediate space with others.
   • Resources for access to food and other necessities are available.
   • The patient and other household members have access to appropriate, recommended personal protective equipment
     (at a minimum, gloves and facemask) and are capable of adhering to precautions recommended as part of home care or
     isolation (e.g., respiratory hygiene and cough etiquette, hand hygiene);
    • There are household members who may be at increased risk of complications from 2019-nCoV infection (.e.g., people
      >65 years old, young children, pregnant women, people who are immunocompromised or who have chronic heart, lung,
      or kidney conditions).


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                                                Exhibit C - Page 14
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 15 of 22 Page ID #:827



Provide Guidance for Precautions to Implement during Home
Care
A healthcare professional should

   • Provide CDC's Interim Guidance for Preventing 2019 Novel Coronavirus (2019-nCoV) from Spreading to Others in Homes
     and Communities to the patient, caregiver, and household members; and
   • Contact their state or local health department to discuss criteria for discontinuing any such measures.


 Footnotes
 1 Isolation   is defined as the separation or restriction of activities of an ill person with a contagious disease from those who are
well.



Additional Resources
    • Interim Healthcare Infection Prevention and Control Recommendations for Persons Under Investigation for 2019 Novel
      Coronavirus
    • Interim Guidance for Preventing 2019 Novel Coronavirus (2019-nCoV) from Spreading to Others in Homes and
      Communities
    • Interim Guidance for Healthcare Professionals
                                                                                                        Page last reviewed: February 12, 2020




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                                                   Exhibit C - Page 15
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 16 of 22 Page ID #:828


 r"i'iTiil Centers for Disease
 flliiiiillliil. Control and Prevention
 Coronavirus Disease 2019 (COVID-19)

 Interim Guidance for Preventing the Spread of
 Coronavirus Disease 2019 (COVID-19) in Homes and
 Residential Communities
 Update: February 14, 2020

 (This guidance provides clarification regarding evaluation for home isolation and a new section with Information regarding
 preventative steps for household members, Intimate partners, and caregivers In a nonhealthcare setting of a person with
 symptomatic, laboratory<onfirmed COVID-19.)

 This interim guidance is based on what is currently known about the epidemiology of COVID-19 and the transmission of other
 viral respiratory diseases. CDC will update this interim guidance as needed and as additional information becomes available.

 Coronaviruses are a large family of viruses, some causing illness in people and others that circulate among animals, including
 camels, cats, and bats. Rarely, animal coronaviruses can infect people exposed to infected animals, and then spread among
 people, as has been seen with MERS-CoV and SARS-CoV. and likely now with SARS-CoV-2, the virus that causes COVID-19. This
 interim guidance may help prevent this virus from spreading among people in their homes and in other residential
 communities.

 This interim guidance is intended for:

    • People with confirmed or suspected COVID-19, including persons under investigation, who do not need to be
      hospitalized and who can receive care at home (see Interim Guidance for Implementing Home Care of People Not
      Requiring Hospitalization for Coronavirus Disease 2019 (COVID-19));
    • People with confirmed COVID-19, who were hospitalized and then determined to be medically stable to go home (see
      Interim Guidance for Implementing Home Care of People Not Requiring Hospitalization for Coronavirus Disease 2019
      (COVID-19));
    • Household members, intimate partners, and caregivers in a nonhealthcare setting of a person with symptomatic,
      laboratory-confirmed COVID-19.




 Prevention steps for
    People with confirmed or suspected COVID-19 (Including persons under investigation) who do not need to be
    hospitalized




    People with confirmed COVID-19 who were hospitalized and determined to be medically stable to go home


 Your healthcare provider and public health staff will evaluate whether you can be cared for at home. If it is determined that
 you do not need to be hospitalized and can be isolated at home, you will be monitored by staff from your local or state health
 department. You should follow the prevention steps below until a healthcare provider or local or state health department
 says you can return to your normal activities.
 Stay home except to get medical care

 You should restrict activities outside your home, except for getting medical care. Do not go to work, school, or public areas.
 Avoid using public transportation, ride-sharing, or taxis.


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                                               Exhibit C - Page 16
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 17 of 22 Page ID #:829

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People: As much as possible, you should stay in a specific room and away from other people in your home. Also, you should
use a separate bathroom, if available.

Animals: You should restrict contact with pets and other animals while you are sick with COVID-19, just like you would around
other people. Although there have not been reports of pets or other animals becoming sick with COVID-19, it is still
recommended that people sick with COVID-19 limit contact with animals until more information is known about the virus.
When possible, have another member of your household care for your animals while you are sick. If you are sick with COVJD-
19, avoid contact with your pet, including petting, snuggling, being kissed or licked, and sharing food. If you must care for your
pet or be around animals while you are sick, wash your hands before and after you interact with pets and wear a facemask.
See COVID-19 and Animals for more information.

Call ahead before visiting your doctor

 If you have a medical appointment, call the healthcare provider and tell them that you have or may have COVID-19. This will
 help the healthcare provider's office take steps to keep other people from getting infected or exposed.

 Wear a facemask

 You should wear a facemask when you are around other people (e.g., sharing a room or vehicle) or pets and before you enter
 a healthcare provider's office. If you are not able to wear a facemask (for example, because it causes trouble breathing), then
 people who live with you should not stay in the same room with you, or they should wear a facemask if they enter your room.

 Cover your coughs and sneezes

 Cover your mouth and nose with a tissue when you cough or sneeze. Throw used tissues in a lined trash can; immediately
 wash your hands with soap and water for at least 20 seconds or clean your hands with an alcohol-based hand sanitizer that
 contains 60 to 95% alcohol, covering all surfaces of your hands and rubbing them together until they feel dry. Soap and water
 should be used preferentially if hands are visibly dirty.

 Clean your hands often

 Wash your hands often with soap and water for at least 20 seconds or clean your hands with an alcohol-based hand sanitizer
 that contains 60 to 95% alcohol, covering all surfaces of your hands and rubbing them together until they feel dry. Soap and
 water should be used preferentially if hands are visibly dirty. Avoid touching your eyes, nose, and mouth with unwashed
 hands.

 Avoid sharing personal household Items

 You should not share dishes, drinking glasses, cups, eating utensils, towels, or bedding with other people or pets in your
 home. After using these items, they should be washed thoroughly with soap and water.

 Clean all "high-touch" surfaces everyday

 High touch surfaces include counters, tabletops, doorknobs, bathroom fixtures, toilets, phones, keyboards, tablets, and
 bedside tables. Also, clean any surfaces that may have blood, stool, or body fluids on them. Use a household cleaning spray
 or wipe, according to the label instructions. Labels contain instructions for safe and effective use of the cleaning product
 including precautions you should take when applying the product, such as wearing gloves and making sure you have good
 ventilation during use of the product.

 Monitor your symptoms

 Seek prompt medical attention if your illness is worsening (e.g., difficulty breathing). Before seeking care, call your healthcare
 provider and tell them that you have, or are being evaluated for, COVID-19. Put on a facemask before you enter the facility.
 These steps will help the healthcare provider's office to keep other people in the office or waiting room from getting infected
 or exposed. Ask your healthcare provider to call the local or state health department. Persons who are placed under active
 monitoring or facilitated self-monitoring should follow instructions provided by their local health department or occupational
 health professionals, as appropriate.


                                                                                                                                      214
                                                                          Exhibit C - Page 17
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 18 of 22 Page ID #:830


 If you have a medical emergency and need to call 911, notify the dispatch personnel that you have, or are being evaluated for
 COVID-19. If possible, put on a facemask before emergency medical services arrive.

 Discontinuing home Isolation

 Patients with confirmed COVID-19 should remain under home isolation precautions until the risk of secondary transmission
 to others is thought to be low. The decision to discontinue home isolation precautions should be made on a case-by-case
 basis, in consultation with healthcare providers and state and local health departments.



 Recommended precautions for household members, intimate
 partners, and caregivers in a nonhealthcare setting1 of
   A patient with symptomatic laboratory<onfirmed COVID-19

   or

   A patient under Investigation


 Household members, intimate partners, and caregivers in a nonhealthcare setting may have close contact 2 with a person with
 symptomatic, laboratory-confirmed COVID-19 or a person under investigation. Close contacts should monitor their health;
 they should call their healthcare provider right away if they develop symptoms suggestive of COVID-19 (e.g., fever, cough,
 shortness of breath) (see Interim US Guidance for Risk Assessment and Public Health Management of Persons with Potential
 Coronavirus Disease 2019 (COVID-19) Exposure in Travel-associated or Community Settings.)

 Close contacts should also follow these recommendations:


   • Make sure that you understand and can help the patient follow their healthcare provider's instructions for medication(s)
     and care. You should help the patient with basic needs in the home and provide support for getting groceries,
     prescriptions, and other personal needs.
   • Monitor the patient's symptoms. If the patient is getting sicker, call his or her healthcare provider and tell them that the
     patient has laboratory-confirmed COVID-19. This will help the healthcare provider's office take steps to keep other
     people in the office or waiting room from getting infected. Ask the healthcare provider to call the local or state health
     department for additional guidance. If the patient has a medical emergency and you need to call 911, notify the dispatch
     personnel that the patient has, or is being evaluated for COVID-19.
   • Household members should stay in another room or be separated from the patient as much as possible. Household
     members should use a separate bedroom and bathroom, if available.
   • Prohibit visitors who do not have an essential need to be in the home.
   • Household members should care for any pets in the home. Do not handle pets or other animals while sick. For more
     information, see COVID-19 and Animals.
   • Make sure that shared spaces in the home have good air flow, such as by an air conditioner or an opened window,
     weather permitting.
   • Perform hand hygiene frequently. Wash your hands often with soap and water for at least 20 seconds or use an alcohol-
     based hand sanitizer that contains 60 to 95% alcohol, covering all surfaces of your hands and rubbing them together
     until they feel dry. Soap and water should be used preferentially if hands are visibly dirty.
   • Avoid touching your eyes, nose, and mouth with unwashed hands.
   • You and the patient should wear a facemask if you are in the same room.
   • Wear a disposable facemask and gloves when you touch or have contact with the patient's blood, stool, or body fluids,
     such as saliva, sputum, nasal mucus, vomit, urine.
       o Throw out disposable facemasks and gloves after using them. Do not reuse.

           o When removing personal protective equipment, first remove and dispose of gloves. Then, immediately clean your
              hands with soap and water or alcohol-based hand sanitizer. Next, remove and dispose offacemask, and
              immediately clean your hands again with soap and water or alcohol-based hand sanitizer.
   • Avoid sharing household items with the patient. You should not share dishes, drinking glasses, cups, eating utensils,
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                                                           Exhibit C - Page 18
Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 19 of 22 Page ID #:831

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     laundry thoroughly").
   • Clean all "high-touch" surfaces, such as counters, tabletops, doorknobs, bathroom fixtures, toilets, phones, keyboards,
     tablets, and bedside tables, every day. Also, clean any surfaces that may have blood, stool, or body fluids on them.
        o Use a household cleaning spray or wipe, according to the label instructions. Labels contain instructions for safe and
          effective use of the cleaning product including precautions you should take when applying the product, such as
          wearing gloves and making sure you have good ventilation during use of the product.
   • Wash laundry thoroughly.
       o Immediately remove and wash clothes or bedding that have blood, stool, or body fluids on them.
          o Wear disposable gloves while handling soiled items and keep soiled items away from your body. Clean your hands
            (with soap and water or an alcohol-based hand sanitizer) immediately after removing your gloves.
          o Read and follow directions on labels of laundry or clothing items and detergent. In general, using a normal laundry
             detergent according to washing machine instructions and dry thoroughly using the warmest temperatures
             recommended on the clothing label.
   • Place all used disposable gloves, facemasks, and other contaminated items in a lined container before disposing of them
     with other household waste. Clean your hands (with soap and water or an alcohol-based hand sanitizer) immediately
     after handling these items. Soap and water should be used preferentially if hands are visibly dirty.
   • Discuss any additional questions with your state or local health department or healthcare provider.


 Footnotes
 1 Homehealthcare personnel should refer to Interim Infection Prevention and Control Recommendations for Patients with
 Known or Patients Under Investigation for Coronavirus Disease 2019 (COVID-19) in a Healthcare Setting.

 2ciose contact is defined as-

 a) being within approximately 6 feet (2 meters) of a COVID-19 case for a prolonged period of time; close contact can occur
 while caring for, living with, visiting, or sharing a health care waiting area or room with a COVID-19 case

 - or-

 b) having direct contact with infectious secretions of a COVID-19 case (e.g., being coughed on).
                                                                                                                                                                                     Page last reviewed: February 18, 2020




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                                                                                   Exhibit C - Page 19
                                Case 8:20-cv-00368-JLS-JDE Document 42 Filed 02/28/20 Page 20 of 22 Page ID #:832



                                                                CERTIFICATE OF SERVICE
                                1
                                2         I declare that I am a citizen of the United States employed in the County of
                                    Orange, over 18 years old and that my business address is 333 W. Santa Ana Blvd., Suite
                                3   407, Santa Ana, California 92701, and my email address is vanessa.leiva@
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                                5         I certify that I caused the foregoing COUNTY OF ORANGE’S AMICUS
                                    CURIAE BRIEF IN SUPPORT OF CITY OF COSTA MESA’S REQUEST FOR A
                                6   CONTINUED TEMPORARY RESTRAINING ORDER to be served on February 28,
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                                    whose direction the service was made. Executed in Santa Ana, California this 28th day of
                                9   February, 2020.
                               10                                                /s/
                                                                          Vanessa Leiva
                               11
OFFICE OF THE COUNTY COUNSEL




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      COUNTY OF ORANGE




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